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       My name is Michael W. Russo, CEDS. I am above the age of 18. Below is a summary of my
professional experience. Following is my ﬁndings regarding Discovery 11.

       I.      Professional Summary of Michael W. Russo, CEDS

        I am a Cer�ﬁed e-Discovery Specialist (CEDS) consultant with over ﬁ�een (15) years of
experience in e-Discovery, Informa�on Technology, computer forensics, so�ware development
and li�ga�on support. My career spans signiﬁcant roles at several oﬃces of the United States
Atorney’s Oﬃce, li�ga�on bou�que law ﬁrms, and na�onal and interna�onal law ﬁrms. My
criminal and forensic experience includes inves�ga�ons into – and defense of – ﬁnancial crimes,
internet crimes, white collar crimes, terrorism, and other major crimes. My civil experience
includes prosecu�on and defense of cases involving insurance, health care, class ac�ons and mass
claims, securi�es, and general complex commercial li�ga�on.

        My experience includes the en�re gamut of eDiscovery and li�ga�on support: from
hardware management to network infrastructure and so�ware development; from advising
atorneys and ﬁrm clients on discovery responses to produc�on compliance in billion-dollar cases;
from li�ga�on holds to eDiscovery audits. I have been in the trenches training staﬀ and atorneys;
advising atorneys and ﬁrm clients; building, training, and managing li�ga�on support teams; and
wri�ng code. I have managed cases on every major eDiscovery pla�orm and am proﬁcient in a
variety of so�ware languages. In par�cular, I specialize in audi�ng exis�ng eDiscovery
environments and ESI – including correc�ng system and workﬂow ineﬃciencies, ensuring
compliance with best prac�ces and case-speciﬁc eDiscovery agreements, preven�ng inadvertent
produc�on of sensi�ve materials, and crea�ng custom solu�ons to automate and accelerate
manual eﬀorts.

        As the founder of Lawgical Insight, I have established a cu�ng-edge consul�ng ﬁrm
specializing in eDiscovery, computer forensics, data analysis, and case management - further
solidifying my standing as a leader in eDiscovery.

       II.     Scope of Engagement

       I was engaged by the law ﬁrm of Stumphauzer Kolaya Nadler & Sloman, PLLC to review
certain produc�ons of electronically stored informa�on (“ESI”) from the United States
Department of Jus�ce (“the Government”) related to U.S.A. v. Vazquez, et al, Case 3:22-cr-00342-
SCC. This report speciﬁcally analyzes the most recent produc�on – referred to by the par�es as
“Discovery 11.” This report atempts to outline certain deﬁciencies in Discovery 11, including
devia�ons from eDiscovery standards and best prac�ces. This report will also include a list of prior
produc�ons that suﬀer from some of the same deﬁciencies and devia�ons as Discovery 11.




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          III.      Summary of Discovery 11

       Discovery 11 was produced on a BitLocker encrypted hard drive. This is consistent with
eDiscovery standards and best prac�ces. Upon decryp�on, the drive contained two (2) folders:




Each folder (“Part 1” and “Part 2”) included the standard structure of ﬁles and folders, which are
consistent with a produc�on of ESI in “database load ﬁle” format. This format is consistent with
eDiscovery standards and best prac�ces.

          In relevant part, the summary metrics from the load ﬁles are:

    i.           Part 1 – 692,479 Documents – 925,267 Pages* - 218GB
    ii.          Part 2 – 426,356 Documents – 489,327 Pages* - 169GB

Note: page counts for load ﬁles are not an accurate metric for size. This is because produc�ons
rou�nely include so-called “slip-sheets,” where a single descrip�ve page can hold the place of an
unusually large or ‘na�ve preferred’ document. The actual page count is o�en higher. This is the
case with Discovery 11, as detailed below.

        Below is a File Type Report from Discovery 11, showing the various categories and types
of ﬁles produced, their atendant total size, and their atendant total ﬁle count. Importantly, I
highlight that Discovery 11 is large. As such, it would be prohibi�vely expensive and �me-
consuming to atempt to manually correct the deﬁciencies and devia�ons highlighted in my
ﬁndings.
Name                                           Size      Files   Type
Image Files                                     265.4 GB 1738559 Files containing pictures, images or mouse cursors
Video Files                                      98.9 GB 17620 Files containing videos or animations
Office Files and Documents                        9.2 GB 10969 Documents and files of office programs and PDFs
Miscellaneous Files                               5.6 GB 24140 Unknown file types
Audio Files                                       4.7 GB 12231 Files containing music, sounds or playlists
Text Files                                        1.8 GB 1774700 Plain text files, log files
Mail Files                                        1.4 GB 11425 Email messages and files of email clients
Internet Files                                 984.1 MB 19071 Files related to the WWW, like HTML files
MacOS Files                                       3.4 MB       5 Files which are typically used on MacOS system
Configuration Files                            258 Bytes       2 Files containing configuration settings

Note: Image Files and Text Files count includes the TIFF produc�ons images and the TEXT
produc�ons ﬁles. Counts in this report account for these, and they are not included in the
summary metrics provided in this report.




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       IV.     Issues with Discovery 11 – Provided Metadata

       Metadata is an important part of every ESI produc�on. Metadata, o�en deﬁned as data
about data, is the system-generated (rather than user-generated) informa�on that serves several
li�ga�on-related func�ons. I will highlight three such func�ons.

        First, metadata serves to authen�cate data. For example, if a leter is dated in its body as
January 1, 2024, but the metadata ﬁeld for “Date Created” is September 1, 2023, we know that
the leter was actually dra�ed on September 1, 2023. Second, metadata can reveal important
informa�on that the content of ESI may not reveal. For example, if a presenta�on reveals
evidence of a conspiracy, it may not be signed by the conspirators. But the “Created By” and
“Modiﬁed By” ﬁelds may reveal who authored and who engaged in edi�ng the conspiratorial
presenta�on. Third, metadata aids in legal review of a produc�on. For example, it is o�en
necessary to perform searches limited to certain custodians or to review communica�ons in date
order (so the reviewers see a conversa�on in the order it happened). If the atendant metadata
for Custodian and Date Sent are not included, or are improperly formated, these eDiscovery
standards and best prac�ces for performing a review become impossible to implement. Another
important example is in de-duping ESI to ensure documents are only reviewed once – which is
problema�c if the metadata is incomplete or improperly formated.

       In relevant part, the document-speciﬁc metadata ﬁelds from the load ﬁles are:

                            Field Name              Part 1    Part 2
                            PRODUCTION
                            BEGDOC                  692479 426356
                            PRODUCTION
                            ENDDOC                  692479 426356
                            PRODUCTION
                            BEGATT                  692479 426356
                            PRODUCTION
                            ENDATT                  692479    426356
                            Custodian               0         0
                            EMAIL FROM              361993    238923
                            EMAIL TO                345243    222866
                            FILENAME                612863    0
                            FILE PATH               692479    426356
                            MD5 Hash                649976    403702
                            PAGE COUNT              692479    426356
                            SHA1 Hash               649976    403702
                            Text Precedence         692479    426356
                            FILE_PATH               692479    382799

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The number under “Part 1” and “Part 2” refers to the total number of documents for which the
atendant metadata ﬁeld exists. As a key to the above graphic:

   i.          The ﬁelds highlighted in green are typically provided and my ini�al analysis reveals
               nothing unusual.
   ii.         The ﬁelds in red are typically provided; however, my ini�al analysis shows irregulari�es
               – detailed below.
   iii.        The ﬁelds in yellow are typically provided; however, they are not important or relevant
               for this type of produc�on.
   iv.         The ﬁeld in orange is typically provided; however, as previously noted, page count may
               not be accurate for the actual ESI represented by the load ﬁle produc�on.
   v.          “FILE PATH” is typically provided, and appears to be the original path of the
               sourced/imaged data.

        I note also that “PAGE COUNT,” here, is not an accurate metric as it is based on the “Tiﬀ”
image count. For example, DOJ-0001189367 shows in the metadata ﬁeld “PAGE COUNT” as “1”
because it is a placeholder for a PDF that contains 81,861 pages of communica�ons from a
sourced device “Universal_Android_Access.zip” which appears to be iden�ﬁed as the “Blakeman”
device.

          V.      Issues with Discovery 11 – UFDR ﬁle type

        Discovery 11 includes at least 684,595 documents with a “FILE PATH” showing ”.ufdr” as
the atendant ﬁle type, as well as various diﬀerent “extrac�on reports” from Cellebrite and Axiom.
This suggests that most of this produc�on can be produced in a much more useable and eﬃcient
format – UFDR na�ve format. In li�ga�on involving UFDR data from a mobile device, produc�on
of the UFDR na�ve format ﬁle is the standard and best prac�ce. Produc�on in this format ensures
the data from the mobile device is self-authen�ca�ng, complete, and properly formated and
structured. Importantly, this method of producing the UFDR report allows for the redac�on or
exclusion of items tagged by the Government as sensi�ve, privileged, HIPAA, PII, etc.

        For example, see Exhibit 1 for how a typical UFDR report (Cellebrite extracted report) in
na�ve UFDR format is ingested for review. This produc�on method includes a graphical interface
the preserves many of the rela�onships of the na�ve applica�ons (“apps”). That is, the data
appears as more similarly to how you would ﬁnd it in a mobile device, with the added
func�onality to sort and ﬁlter by useful metadata like Contact Name. Importantly, this is closer to
the original mobile phone data, and does not involve any addi�onal processing or cost to produce.




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       By contrast, see Exhibit 2 for how the produced UFDR report (Cellebrite extracted report)
in “standard load ﬁle” format is ingested for review. This produc�on method divorces the
underlying app data

        (like text messages) from the well-organized mobile device environment that is (par�ally)
preserved by the industry standard UFDR report. This produc�on method makes it more diﬃcult
to process, ﬁlter, and see rela�onships in data on a mobile device. Importantly, this format is
further removed from how the original mobile phone data exists, and requires addi�onal
processing to produce.

       VI.    Issues with Discovery 11 – Missing Metadata

       The following metadata ﬁelds are missing from Discovery 11. Produc�on of these ﬁelds is
standard and a best prac�ce in modern eDiscovery, especially in criminal maters involving the
authen�city and �ming of communica�ons. As previously discussed, the below missing ﬁelds
serve and important func�on in li�ga�on – and their omission materially limits the useability and
eviden�ary value of Discovery 11.

   1. Date/Time Created – Date/Time ﬁle created
   2. Date/Time Last Modiﬁed – Date/Time ﬁle last modiﬁed
   3. Date/Time Sent – Date/Time e-mail/message sent
   4. Date/Time Received – Date/Time e-mail/message received
   5. Conversa�on / Group Chat Name – Name of Group Chat
   6. Communica�on Type – Pla�orm used (SMS, iMessage, WhatsApp, Skype, Signal, etc)
   7. Par�cipants – List of members in chat (can be individual or group)
   8. Dura�on – Dura�on of call in seconds.
   9. BCC – Email BCC ﬁeld
   10. Email Subject – Email subject ﬁeld
   11. Custodian – Name/En�ty/Owner of data collected
   12. Extension – original extension of ﬁle.
   13. File Size – size of original ﬁle (typically provided in bytes or kilobytes).

       The impact of these missing ﬁelds is signiﬁcant, especially in terms of atorney review
�me. I will oﬀer several examples of diﬃcul�es in reviewing Discovery 11 that stem from these
missing ﬁelds.

       i.     Finding an atachment to a message would typically be trivial and take about one
              (1) second in a modern review pla�orm (e.g. Rela�vity). As produced, it could take
              hours to ﬁnd the atendant atachment to a message. This process can be
              mul�plied across thousands of documents.




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        ii.     It is virtually impossible to create a logical search or view of speciﬁc messages
                between one or more par�cipants. This is a standard prac�ce in targeted reviews
                of large produc�ons.
        iii.    It is virtually impossible to narrow down documents/messages by date.

       Out of the approximately 1,118,835 documents (1,414,594 pages) produced, only 27 (160
pages) were produced in observance of eDiscovery standards and best prac�ces.

        VII.    Issues with Discovery 11 – the other Produc�ons

Below is a list of prior produc�ons for which I performed an ini�al analysis, and which share the
same metadata ﬁelds and atendant concerns as Discovery 11:

   1.   Produc�on 004
   2.   Produc�on 005
   3.   Produc�on 008
   4.   Produc�on 009
   5.   Produc�on 010

        VIII.   Issues with Discovery 11 – Obscured Files

      My analysis so far has iden�ﬁed thirteen (13) ﬁles that were obscured within the
produc�on, which contain important communica�ons between relevant par�es. See for example
These 13 ﬁles contain atachments that are otherwise impossible to correlate within the
produc�on and contain at least 120,000 pages of relevant messages.

        The reason I say these ﬁles were obscured is because Discovery 11 does not apply a
consistent methodology for genera�ng slip-sheets. Typically, large documents (thousands of
pages) may receive a slip-sheet that directs the par�es to the na�ve large ﬁle. For example, DOJ-
0001188765 – which is a 3,297 page PDF – received a slip-sheet but DOJ-0001207505 – which is
a 3,465 page PDF did not. With respect to the largest of the obscured documents, over 86,000
pages of relevant communica�ons were bundled together into a single document that received a
single slip-sheet without a signiﬁcantly speciﬁc descrip�on in the atendant produc�on log. The
industry standard and best prac�ce would have been to produce the UFDR ﬁle.

        IX.     Conclusion

        Discovery 11 was generated in the 'database load ﬁle' format, a widely recognized industry
standard to produce ESI. Despite its standardiza�on, numerous varia�ons in deliverables s�ll
exist. This varia�on can signiﬁcantly complicate the inges�on process for both linear and non-
linear reviews by a receiving party, especially where there is not an agreed upon or court-ordered
ESI protocol.



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        The Discovery 11 produc�on is so poorly organized as to materially prevent review and
analysis by reasonable means. Moreover, it was produced in a manner that cannot even be
organized by applica�on of modern Technology Assisted Review (TAR) or Ar�ﬁcial Intelligence (AI)
technologies. Importantly, Discovery 11 excludes thirteen (13) load ﬁle ﬁelds containing the
metadata necessary for a defensible legal review. Moreover, Discovery 11 excludes na�ve UFDR
ﬁles, which are a standard and best prac�ce when producing informa�on from mobile devices. In
the absence of these, and because of the other deﬁciencies and devia�ons outlined in this report,
it is not reasonably possible to review or ﬁlter the documents by custodian, date, par�cipants
(chat members), atachments, or group ID.




Respectfully,
Michael W. Russo




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            EXHIBIT 1




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       • (iJ Example Mobile/Cloud Account Extraction
            � Accounts and Passwords                                          17

            � Apple Notes                                                    45

            121 Calendar                                                    225

            (s Calls                                                        658

            2. Contacts                                                    1,230

            lo Files
            e
                                                                         242,960
                  Messages                                                65,924

            Ii OS Artifacts                                               41,117
            r@i Reports
            @) Snapshots
            re,   User Searches                                               14

            @ WebKit Data                                                     4

            � Wireless Connections                                        28,565

            :o: Faces
            r;J Key Evidence
            .?'� OCR
            Q Search
            'b° Social Graph
            $ Statistics


               ..
            � Timeline                                                   225,910

          y�
                  Applications                                                12
                     Amazon shopping                                        377

               r:i Apple Maps                                                  8

               a     Apple Messages
                     Apple Photos
                                                                          27,069
                                                                            985

               I! Event log                                                 600

               II Fitbit                                                      6
               9 Google Maps                                                 114
                • Health                                                  72,864

               e     Mail                                                 38,841
               a Phonebook
               •
                                                                             70
                     Safari Browser                                       14,490

               @ WhatsApp Messenger                                         668




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             EXHIBIT 2




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                         DOJ-0001189367




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                                           A snippet of a page from the native PDF
                                           for bates DOJ-0001189367.




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         EXHIBIT 3



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